             18-23817-rdd              Doc 4        Filed 11/28/18 Entered 11/28/18 18:05:50                        Ch 7 First Mtg
                                                           I/J No POC Pg 1 of 2
Information to identify the case:

Debtor 1:
                      Anita Batichon Delva                                        Social Security number or ITIN:   xxx−xx−6988
                                                                                  EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                         Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                               EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Southern District of New York              Date case filed for chapter:        7     11/27/18

Case number:           18−23817−rdd

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                               12/15




For the debtor(s) listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                       About Debtor 2:

1.        Debtor's full name                     Anita Batichon Delva

2.        All other names used in the
          last 8 years

3.      Address                                  82 College Avenue
                                                 Nanuet, NY 10954

4.      Debtor's attorney                        Desiree Venicia de Moya                               Contact phone 845−639−4600
                                                 de Moya & Associates, P.C.                            Email: desiree@demoyalaw.com
        Name and address                         163 South Main Street
                                                 New City, NY 10956

5.      Bankruptcy trustee                       Mark S. Tulis                                         Contact phone (914) 747−4400
                                                 Tulis Wilkes Huff & Geiger LLP                        Email: mtulis.trustee@gmail.com
        Name and address                         220 White Plains Road
                                                 2nd Floor
                                                 Tarrytown, NY 10591
                                                                                                               For more information, see page 2 >
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                                                         I/J No POC Pg 2 of 2
Debtor Anita Batichon Delva                                                                                                    Case number 18−23817−rdd


6. Bankruptcy clerk's office                      300 Quarropas Street                                                Office Hours: Monday − Friday
                                                  White Plains, NY 10601                                              8:30 AM − 5:00 PM
    Documents in this case may be filed at this
    address. You may inspect all records filed    Clerk of the Bankruptcy Court:
    in this case at this office or online at                                                                          Contact phone 914−467−7250
    www.pacer.gov.                                Vito Genna                                                          Date: 11/28/18

7. Meeting of creditors                           December 27, 2018 at 10:30 AM                                       Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a later date.          United States Bankruptcy Court,
    questioned under oath. In a joint case,       If so, the date will be on the court docket. Debtor should          SDNY, 300 Quarropas Street,
    both spouses must attend. Creditors may       bring this notice to the first meeting of creditors, together
    attend, but are not required to do so.        with any other documents requested by the trustee.                  Room TBD, White Plains, NY
                                                  Cell phones are not permitted in the Courthouse                     10601−5008
                                                  without an Attorney Secure Pass which can be
                                                  obtained at the U.S. District Court Clerk's Office.


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 2/25/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                   • if you assert that the debtor is not entitled to receive a discharge of any debts under any
                                                     of the subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                     or
                                                  • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                   Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as                 conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                  it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                  that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                  to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                  have any questions about your rights in this case.


12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                  distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                  the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                  exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.


13. Debtors                                       Duty to complete Financial Management Course and File Certificate: The Personal Financial Management
                                                  Course must be completed and Official Form 423 (Certification About a Financial Management Course)
                                                  must be filed within 60 days after the first date set for your section 341(a) meeting, pursuant to Bankruptcy
                                                  Rule 1007(c). Please note: You will not receive your discharge and your case will be closed without entry
                                                  of a discharge, if you do not file the form within the required time allotted. If you fail to file the Certification
                                                  About a Financial Management Course and your case is closed, you will be required to file a Motion to
                                                  Reopen the Case to allow for filing of the Certification, paying required fees, if any become due,
                                                  applicable to either the reopening of the case or filing of the motion.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                       page 2
